Case 2:16-cv-06576-CCC-MAH           Document 301        Filed 07/10/23      Page 1 of 1 PageID:
                                          13580



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

____________________________________
                                    :
INDUSTRIA DE ALIMENTOS              :
ZENU S.A.S.,                        :               Civil Action No. 16-6576 (KM) (MAH)
                                    :
             Plaintiff,             :
                                    :
      v.                            :               AMENDED SCHEDULING ORDER
                                    :
LATINFOOD U.S. CORP. d/b/a          :
ZENÚ PRODUCTS CO., et al.,          :
                                    :
             Defendants.            :
____________________________________:

       This matter having come before the Court by way of the parties’ joint letter filed on July

7, 2023 [D.E. 300]; and for good cause shown,

       IT IS ON THIS 7th day of July 2023,

       ORDERED THAT:

       1.     Plaintiff shall serve any and all damages expert reports by September 27, 2023.

       2.     Defendants shall serve any responding expert report on damages on or before
              November 10, 2023.

       3.     All expert discovery shall be completed on or before December 26, 2023.

       4.     There will be a telephone status conference before the Undersigned on
              September 8, 2023, at 1:00 p.m. The parties will dial 1-888-694-8852 and enter
              1456817# to join the conference. The parties will be prepared to discuss whether
              it would be productive to hold another settlement conference in this matter, and
              are expect to have consulted with their respective clients in advance of the
              conference on this issue.

                                                    /s Michael A. Hammer
                                                    Hon. Michael A. Hammer,
                                                    United States Magistrate Judge
